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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                         FORT PIERCE DIVISION
                     CASE NO. 06-14075-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  GARFIELD W. BIRMINGHAM,

                Defendant.
  _________________________/


         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch, on
  December 19, 2006. A Report and Recommendation filed on December
  22,   2006   recommended   that   the    Defendant’s   plea   of   guilty   be
  accepted. The Defendant and the Government were afforded the
  opportunity to file objections to the Report and Recommendation,
  however, none were filed. The Court has conducted a de novo review
  of the entire file. Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Frank J. Lynch, is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Count One of the Indictment.


        DONE AND ORDERED in Chambers at Fort Pierce, Florida, this
  13th day of March, 2007.


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                                          DONALD L. GRAHAM
                                          UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Frank J. Lynch
          Rinku Talwar, AUSA
          Peter Birch, AFPD
